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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Richmond Division

UNITED STATES OF AMERICA                      )
                                              )
v.                                            )       Case No. 3:19cr130
                                              )
OKELLO T. CHATRIE,                            )
          Defendant                           )


                   DEFENDANT’S BRIEF ON THE APPLICATION OF
                  BRADY AND RULE 16 TO A SUPPRESSION HEARING

        Okello Chatrie, through counsel, respectfully submits this brief on the government’s

discovery obligations under Brady v. Maryland, 373 U.S. 83 (1963), and Federal Rule of Criminal

Procedure 16 in the context of a pre-trial suppression hearing. For the reasons set forth below, Mr.

Chatrie submits that he is entitled to discovery on all of the outstanding items in his discovery

request, ECF No. 28. Documents responsive to requests 1, 3, 4(a), 4(b), 4(e), 8, 9, 11(c), and 11(e)

are discoverable under both Brady and Rule 16, whereas requests 4(c), 4(d), 5, 10, 11(d), and 12

seek information discoverable under Rule 16 alone.

                                       INTRODUCTION

        On October 29, 2019, Mr. Chatrie filed a discovery motion concerning the search of Google

location information obtained pursuant to a so-called “geofence” warrant. See ECF No. 28. Mr.

Chatrie filed this motion in connection with his motion to suppress the evidence obtained from the

geofence warrant, and all of the fruits thereof. See ECF No. 29. The government has provided

discovery in response to paragraphs 2, 6, 7, 11(a), and 11(b) of ECF No. 28, but it has not provided

information in response to the remainder of the items sought by Mr. Chatrie, which include:

     1. The location/source of the WiFi/WiFi access points for individuals’ location tracking data

        listed as “WiFi” in the “source” section of Prod01_142 and Prod_163, including all Media



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    Access Control (MAC) addresses, Service Set Identifier (SSID’s) information, and MAC

    addresses for any data that could be associated with a Bluetooth beacon;

    [. . .]

 3. Details concerning Google’s Sensorvault, including:

         a. how the location data is captured and collected;

         b. how often Google collects location data on Android phones, both through the

              operating system and through Google applications, services, or software;

         c. how often Google collects location data on non-Android phones using Google

              applications, services, or software;

         d. all manuals, policies, guidelines, presentations, and protocols relating to how the

              location data is captured and collected;

         e. all algorithms used in capturing and collecting the location data, including the

              algorithm version number(s) and year(s) developed;

         f. how Google stores the location data;

         g. all manuals, policies, guidelines, presentations, and protocols relating to how

              Google stores the data;

         h. all algorithms used in storing the location data, including the algorithm version

              number(s) and year(s) developed;

         i. how Google analyzes and sorts the location data to respond to law enforcement

              requests;

         j. all manuals, policies, guidelines, presentations, and protocols relating to how

              Google analyzes and sorts the location data to respond to law enforcement requests;




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         k. all algorithms used in analyzing and sorting the location data, including the

              algorithm version number(s) and year(s) developed;

         l. all information about the accuracy of the location data, including any tests,

              validation studies, error rates and how the error rates were calculated (including

              whether they reflect test or operational conditions);

 4. Parameters of Google’s Sensorvault data, including:

         a. how many individuals’ tracking information is in the Sensorvault;

         b. how often, if ever, information in the Sensorvault is purged;

         c. who has access to the Sensorvault;

         d. how the Sensorvault is maintained;

         e. all privacy policies relating to the Sensorvault.

 5. The name(s) and training, certifications, and qualifications of the individual(s) at Google

    who gathered and turned over the location data in this case to law enforcement officials;

    [. . .]

 8. All information about how law enforcement officials manipulated and analyzed the

    Sensorvault data to identify accounts for which Google provided additional information in

    the second and third rounds of the search process, including;

         a. how law enforcement officials made determinations about which accounts to

              investigate further;

         b. how law enforcement officials made determinations about which accounts to not

              investigate further;

         c. what data law enforcement officials relied on to make these determinations;




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   9. Any and all Sensorvault data that Google initially determined to be potentially responsive

       to the warrant and subsequent law enforcement requests but excluded from the Sensorvault

       data ultimately Google provided to law enforcement officials in this case, including the

       reason(s) for the exclusion;

   10. The name(s) and training, certifications, and qualifications of the analyst(s) who used the

       Sensorvault data to identify particular accounts to seek additional information from Google

       about;

   11. For all law enforcement agencies and officers involved in this case, copies of any and all:

           [. . .]

           c. training materials in the possession of law enforcement agencies for obtaining and

                using Sensorvault data;

           d. contracts, memorandums of understanding and agreements, including but not

                limited to nondisclosure agreements, concerning the use of Sensorvault data, or that

                bind the law enforcement agencies;

           e. internal policies, guidelines, training manuals, or presentations concerning use of

                Sensorvault data;

   12. All records produced as a result of the requests described above.

ECF No. 28 at 1-5. For the reasons set forth below, Mr. Chatrie is entitled to discovery on all of

these requests under Brady, Rule 16, or both.




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                                           ARGUMENT

1. Brady (Due Process)

   A. Legal Standard
       For nearly sixty years, the Supreme Court has made clear that the Fifth Amendment’s

guarantee of due process requires the government to disclose to the defense in a criminal

prosecution all evidence “favorable to an accused” and “material either to guilt or to punishment,”

Brady, 373 U.S. at 87. Evidence is material if there is a “reasonable probability that, had the

evidence been disclosed to the defense, the result of the proceeding would have been different. A

‘reasonable probability’ is a probability sufficient to undermine confidence in the outcome.”

United States v. Bagley, 473 U.S. 667, 682 (1985).

       Evidence that undermines confidence in the outcome of a case includes evidence that could

affect the integrity of the government’s investigation, impact the veracity or reliability of witness

statements or testimony, conflict with or diminish the value of other evidence in the government’s

case, and support a case against a different suspect. See Kyles v. Whitley, 514 U.S. 419, 441-54

(1995); Bagley, 473 U.S. at 678; Giglio v. United States, 405 U.S. 150, 153-54 (1972). “The

question is not whether the defendant would more likely than not have received a different verdict

with the evidence, but whether in its absence he received a fair trial . . . .” Kyles, 514 U.S. at 434;

see also Smith v. Cain, 565 U.S. 73, 75 (2012) (finding material evidence that undercut the only

link between the defendant and the alleged crime, and rephrasing Kyles’ definition of reasonable

probability as “[a] reasonable probability does not mean that the defendant ‘would more likely

than not have received a different verdict with the evidence,’ only that the likelihood of a different

result is great enough to ‘undermine[ ] confidence in the outcome of the trial.’”).

       In this case, the discovery requested relates to the potential suppression of the identification

of Mr. Chatrie as a suspect. The only way that the government identified Mr. Chatrie as a suspect


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was through the data it obtained from the geofence warrant. Thus, under the fruit of the poisonous

tree doctrine, see Wong Sun v. United States, 371 U.S. 471 (1963), but for the unconstitutional

search that led to the identification of Mr. Chatrie as a suspect, the government would not have

been able to collect any other evidence against Mr. Chatrie and that evidence likewise must be

suppressed. If the Court finds that the geofence warrant was an unreasonable search under the

Fourth Amendment, then there is no case that the government can present against Mr. Chatrie

because all of the evidence against him will have been suppressed. See Wong Sun, 371 U.S. at 488

(finding that the question of whether evidence is a “fruit” of illegal police activity is “whether,

granting establishment of the primary illegality, the evidence to which instant objection is made

has been come at by exploitation of that illegality or instead by means sufficiently distinguishable

to be purged of the primary taint.”) (internal quotation marks omitted). The question in this case,

then, as to materiality, is had the evidence requested been disclosed to the defense, whether a

probability sufficient to undermine confidence in the outcome of the Court’s anticipated

suppression ruling exists.

       Every circuit that has decided the question of whether Brady applies in the suppression

context has held that it does. See United States v. Gamez-Orduno, 235 F.3d 453, 461 (9th Cir.

2000) (“The suppression of material evidence helpful to the accused, whether at trial or on a motion

to suppress, violates due process if there is a reasonable probability that, had the evidence been

disclosed, the result of the proceeding would have been different.”); Smith v. Black, 904 F.2d 950,

965-66 (5th Cir. 1990) (“The appropriate assessment for Brady purposes, of course, is whether

nondisclosure affected the outcome of the suppression hearing.”), rev’d on other grounds, 503

U.S. 930 (1992) (vacating judgment in light of Stringer v. Black, 503 U.S. 222 (1992), which

addressed procedural aspects of habeas petition). In Nuckols v. Gibson, 233 F.3d 1261, 1266-67




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(10th Cir. 2000), the Tenth Circuit found that Brady’s disclosure obligations applied to

impeachment evidence material to a pretrial hearing regarding the admissibility of the defendant’s

confession, which was the only evidence tying the defendant to the crime. The Second Circuit has

not yet decided the question of whether Brady applies in the suppression context, but in United

States v. Nelson, 193 F. App’x 47, 50 (2d Cir. 2006), the court remanded the case for an evidentiary

hearing on the suppression issue and noted that the Brady question would “be mooted if the

Government, in advance of the hearing, turns over any material not already given to the defense

in advance of the trial that may bear on the outcome of the suppression hearing.” No circuit 1 has

held that Brady does not apply in the suppression context.

        Rather than squarely address the issue, the Fourth Circuit has assumed without deciding

that Brady applies in the suppression context. See United States v. Williams, 10 F.3d 1070, 1077

(4th Cir. 1993) (“we assume arguendo but decline to address definitively on the merits the issue

of whether Brady should call for disclosure of material evidence at pre-trial suppression

hearings”) 2. But, the Fourth Circuit has long-required that evidence be disclosed at a time when

it will be of value to the defense. “If it is incumbent on the State to disclose evidence favorable to

an accused, manifestly, that disclosure to be effective must be made at a time when the disclosure

would be of value to the accused.” Hamric v. Bailey, 386 F.2d 390, 393 (4th Cir. 1967); accord


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  In United States v. Jones, 725 F. App’x 763, 765-66 (11th Cir. 2018) (finding evidence government failed
to disclose not material), the Eleventh Circuit analyzed an alleged Brady violation as if Brady’s disclosure
obligations applied in the suppression context. See also United States v. Sigillito, 759 F.3d 913, 929-30
(8th Cir. 2014) (analyzing an alleged Brady violation as if Brady’s disclosure obligations applied in the
suppression context); Murray v. United States, 704 F.3d 23, 30-32 (1st Cir. 2013) (analyzing an alleged
Brady violation as if Brady’s disclosure obligations applied in the suppression context).
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  Four other circuits have also not squarely addressed the issue. See United States v. Thomas, 835 F.3d 730,
734 (7th Cir. 2016) (observing that Seventh Circuit has not yet taken a position on whether Brady applies
in the suppression context); United States v. Taylor, 471 F. App’x 499, 520 (6th Cir. 2012) (assuming
without deciding that Brady applies in the suppression context); United States v. Donahue, 460 F. App’x
141, 143-44 (3d Cir. 2012) (assuming without deciding that Brady applies in the suppression context);
United States v. Bowie, 198 F.3d 905, 912 (D.C. Cir. 1999) (declining to decide whether Brady applies in
the suppression context).


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United States v. Elmore, 423 F.2d 775, 779 (4th Cir. 1970). Even though suppression of

incriminating evidence may be unrelated to the actual culpability of an accused person, the

rationale behind Brady “applies with equal force” to evidence that is necessary to challenge the

constitutionality of a search. United States v. Barton, 995 F.2d 931, 935 (9th Cir. 1993). That is

particularly so when the ruling at issue is case dispositive. See Nuckols, 233 F.3d at 1266-67. To

hold that Brady did not apply to case dispositive suppression rulings, “would effectively deprive a

criminal defendant of his Fourth Amendment right to challenge the validity of a search [].” Id.

     B. Materiality

        The information requested is material to Mr. Chatrie’s argument that the geofence general

warrant violated his Fourth Amendment rights. Requests 1, 3, 4(a), 4(b), 4(e), 8, and 9 relate to at

least one of three issues that are central to the success of his suppression motion: overbreadth, lack

of particularity, and lack of voluntariness. Requests 11(c) and 11(e) seek potential impeachment

evidence. Without access to this information, there is a likelihood of a different result in the

suppression proceeding great enough to undermine confidence in the outcome. Smith, 565 U.S. at

75; Bagley, 473 U.S. at 682. 3

     1. Wi-Fi Access Points
        Request 1 concerns information about the location of the Wi-Fi access points that Google

used to estimate the location of users identified as responsive to the first step of the geofence

warrant. See ECF No. 28 at 1-2. This information bears directly on the warrant’s overbreadth and

lack of particularity. According to the expert testimony of Mr. Spencer McInvaille, 88% of the

location points initially produced by Google came from Wi-Fi data, which is not as accurate as



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  Furthermore, this Court “may consider directly any adverse effect that the prosecutor’s failure to
respond [to the discovery request] might have had on the preparation or presentation of the
defendant’s case.” Bagley, 473 U.S. at 683.


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GPS, and depends on Google’s assumptions about where nearby Wi-Fi access points (e.g., routers)

are physically located. 1/21/20 Tr. at 64-70. Because Wi-Fi networks can extend up to 150 feet

from the access point, an access point that was close to the edge of the 150-meter geofence would

have been “seen” by devices well outside the geofence radius. Id. at 65. As Mr. McInvaille

explained, this appears to have caused Google to include users in the initial warrant return who

were never inside the geofence at all. Id. at 65, 69. Thus, for example, Mr. McInvaille demonstrated

that “Mr. Green” was probably never inside the geofence, but was simply driving down a road

next to the Journey Christian Church on his way home from a nearby hospital. Id. at 82.

       Access to information about the location of the relevant Wi-Fi access points will permit

Mr. Chatrie to determine how many devices Google may have falsely placed within the 150-meter

geofence. Id. at 68. The government presented no information to the issuing magistrate about this

possibility or the likelihood of ensnaring people outside the scope of the warrant. These facts,

however, go directly to Mr. Chatrie’s overbreadth and particularity arguments, as he maintains that

the scope of the search was impermissibly broad and afforded too much discretion to law

enforcement to determine whose data would be produced and ultimately de-anonymized. Without

this information, neither the parties nor the Court would have a complete understanding of the

nature of the search and seizure that occurred in this case. Such a deficient factual record would

undermine confidence in the outcome of Mr. Chatrie’s suppression motion and impair his

likelihood of success.

   2. “Sensorvault” Details

       Request 3 asks for details concerning Google’s “Sensorvault,” the cache of location

information collected from users. See ECF No. 28 at 2-3. Subparts (a)-(e) seek to establish how

Google captures and collects this information from users, including the frequency of collection,




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policies and procedures for collection, and the algorithms involved in the collection process. Id. at

2. Subparts (f)-(h) relate to how Google stores this location information, also seeking policies and

procedures as well as the relevant algorithm. Id. at 2. Likewise, subparts (i)-(k) ask for the policies

and procedures as well as the algorithm involved in analyzing and sorting location data in response

to law enforcement requests. Id. at 2-3. And subpart (l) seeks information about the accuracy of

the location data, including any tests and validation studies. Id. at 3.

       All of the items in Request 3 bear on the breadth and particularity of the geofence warrant

in this case, as well as the degree of voluntariness involved in conveying location information to

Google. The warrant, for example, required Google to produce location data for “each type” of

Google account inside the 150-meter geofence, see ECF No. 54-1 at 4, 9. As Mr. McInvaille

testified, Google classifies the location information it collects into three categories: “Location

History,” “Google Location Services,” and “Web & App Activity.” See 1/21/20 Tr. at 23. But as

Google proffered in its amicus brief, its response to the geofence warrant was limited to a search

of “Location History” data only—meaning that it did not search data generated as a result of

Google Location Services or Web & App Activity. See ECF No. 59-1 at 12. Google, however,

provides no support for this assertion and does not explain why it would restrict the search in a

manner contrary to the plain language of the warrant. In other cases, involving requests for

account-specific data, Google typically indicates in the raw warrant return which category of

location data is at issue (e.g., “Location History” or “Web & App Activity”). See 1/21/20 Tr. at

29-31. But in this case, Google did not do so, raising further questions about what data was actually

searched and produced to law enforcement.

       What data Google searched and why are fundamental facts in Mr. Chatrie’s suppression

claim. If Google did search Location History data only, then Google’s rationale is likely to




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strengthen Mr. Chatrie’s argument that the warrant gave too much discretion to non-judicial

officers. See Groh v. Ramirez, 540 U.S. 551, 561 (2004) (“Even though [law enforcement] acted

with restraint in conducting the search, ‘the inescapable fact is that this restraint was imposed by

the agents themselves, not by a judicial officer.’”) (quoting Katz v. United States, 389 U.S. 347,

356 (1967)). If Google searched more than Location History, such as Google Location Services or

Web & App Activity, then it would bolster Mr. Chatrie’s argument that he did not voluntarily

convey his location information to Google. Google maintains that users must “opt-in” to Location

History tracking through a multi-step process, see ECF No. 59-1 at 7-8, whereas Google Location

Services and Web & App Activity are enabled by default. Thus, if the geofence search did include

data from either Google Location Services or Web & App Activity, then the lack of voluntariness

involved in transmitting this information to Google would be even more apparent to the Court. 4

       Additionally, information about how Google responds to geofence warrants and provides

ostensibly “anonymized” data to law enforcement is directly relevant to the warrant’s overbreadth

and lack of particularity. Mr. Chatrie maintains that the warrant application misrepresented the

intrusiveness of the initial two steps of the search process by repeatedly describing the data

produced to law enforcement as “anonymized.” See ECF No. 54-1 at 2-3. As Mr. McInvaille

demonstrated, Google’s use of pseudonyms in place of user IDs did little to actually mask the

identities of the individuals whose data was produced to law enforcement. 1/21/20 Tr. at 73-92.

Instead, the location coordinates provided by Google may be sufficient to ascertain the likely

identities of users. Id.; see also ECF No. 68 at 3-5. Furthermore, it appears that there may be a

direct and predictable relationship between the pseudonyms assigned by Google and the true



4
 Mr. Chatrie does not concede that the “opt-in” procedure that Google has devised for Location
History is in fact truly knowing and voluntary for the vast majority of users. See 1/21/20 Tr. at 57-
58.


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device IDs that have been supposedly anonymized. Information about this process and the

anonymization algorithm employed by Google is likely to confirm this suspicion. If true, such a

misrepresentation would undermine the government’s argument that the search does not raise

significant privacy concerns. It would also further establish the warrant’s overbreadth and lack of

particularity because, in practice, it effectively granted law enforcement access to more identifiable

information than the warrant appears to authorize.

        Finally, information about the accuracy of the location data provided by Google bears on

the breadth and particularity of the warrant. As was the case with “Mr. Green,” the way Google

estimates the location of users can have the effect of falsely including people inside the geofence.

See 1/21/20 Tr. at 65, 69, 82. Or in other words, it effectively extends the reach of the geofence

well beyond 150 meters. Id. at 66. Indeed, Mr. McInvaille testified that as a result, the initial search

might have extended the reach of the geofence by as much as 50 meters, which would encompass

nearby businesses as well as a hotel, a self-storage facility, apartment buildings, and a large road.

Id. at 66-67. Information about the accuracy of Google’s process for determining user location

would likely confirm that the geofence captured users outside the 150-meter radius and

demonstrate that Google was aware of this phenomenon. Similarly, access to the algorithmic

process Google uses to collect and analyze user location data would likely assist Mr. Chatrie in

assessing the accuracy of the geofence warrant returns and, consequently, the true breadth of the

search. Id. at 70-71. It would allow the defense to determine how many devices may have been

falsely identified as having been within the 150-meter geofence. It would also allow the defense

to verify the error rates and confidence values that Google provides in the raw warrant returns.

Like Mr. Chatrie’s request for information about the Wi-Fi access points, the algorithms Google

uses relate directly to Mr. Chatrie’s overbreadth and particularity arguments. If Google provided




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the government with “estimates” instead of “facts,” see ECF No. 59-1 at 10, id. n.7, 13 n.8, 20 n.12,

then the defense deserves to know how Google came up with those estimates, especially if

Google’s process effectively expands the scope of the search in a way unknown to the magistrate

who signed the warrant.

        The information Mr. Chatrie seeks in request 3 is essential to understanding the nature of

the search and seizure that occurred in this case. It is also likely to further strengthen his arguments

that the collection of his location data was not truly voluntary and that the geofence warrant used

to search it was unconstitutionally broad and lacked particularity. Without these facts, neither Mr.

Chatrie nor the Court will have a true understanding of what occurred in this case, thereby

undermining confidence in the outcome of the Court’s suppression hearing.

    3. Sensorvault Parameters

        Request 4 also concerns Sensorvault, and subparts (a), (b), and (e) are likewise

discoverable under Brady. See ECF No. 28 at 3. Request 4(a) seeks the total number of users with

location information in Sensorvault, the purpose of which is to determine how many users had

their location data searched by Google in step one of the geofence warrant process. As Google

explains in its amicus brief, conducting a geofence search requires a uniquely broad search of “all”

Google users’ timelines. See ECF No. 59-1 at 11. The defense, which crafted its discovery request

prior to Google’s amicus brief, understood the warrant to require a search of each category of

location data in the Sensorvault, i.e., Location History, Google Location Services, and Web & App

Activity. Therefore, the defense asked for the total number of users with location data in the

Sensorvault. Google, however, stated that it searched Location History data only. ECF No. 59-1

at 12-13. But in either event, Mr. Chatrie seeks to determine the number of users who were

searched at step one of the geofence warrant process, be it every user in the Sensorvault, or every

user with Location History enabled. Mr. Chatrie is confident that this will be an extraordinarily


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large number of users, likely in the millions or billions. See 1/21/20 Tr. at 168. Such information

is undoubtedly helpful to Mr. Chatrie’s overbreadth and particularity arguments, as the assuredly

unprecedented scope of this search was not supported by probable cause and was not presented to

the issuing magistrate.

       Request 4(b) asks for information about how often, if ever, Google purges location

information from the Sensorvault. See ECF No. 28 at 3. This would tell Mr. Chatrie how far back

in time law enforcement can search. As in Carpenter v. United States, access to historical location

cell phone location data gives the government “access to a category of information otherwise

unknowable” by allowing it to “travel back in time to retrace a person’s whereabouts, subject only

to the retention policies of the wireless carriers.” 138 S. Ct. 2206, 2218 (2018). Such surveillance

“runs against everyone” and gives law enforcement access to “each carrier’s deep repository of

historical location information at practically no expense.” Id. Mr. Chatrie seeks to know how deep

that repository goes here. Mr. Chatrie believes that some location information may be retained

indefinitely and never be purged, a fact which would support Mr. Chatrie’s voluntariness argument

under Carpenter.

       Similarly, request 4(e) seeks all privacy policies relating to the Sensorvault in effect from

the date of the robbery through the time of the search, as Mr. Chatrie believes these policies will

further support his voluntariness argument. See ECF No. 28 at 3. While Google has a public

privacy policy available online, it does not mention Sensorvault and only references Location

History twice. 5 Mr. Chatrie therefore seeks any additional policies related to the privacy of his

Sensorvault data that are not publicly available. This information is material because it would go




5
    See Google, Privacy Policy             (January    22,   2019),    https://policies.google.com/
privacy/archive/20190122?hl=en-US.


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to show the lack of control Mr. Chatrie had over the collection and retention of his Google location

information, similar to the defendant in Carpenter. See 138 S. Ct. at 2220 (finding that a cell phone

user does not voluntarily assume the risk of turning over a comprehensive dossier of his physical

movements in any meaningful sense).

   4. The “Narrowing” Process

       Request 8 concerns what investigators did with the location information they received from

Google in steps one and two of the geofence warrant process. See ECF No. 28 at 3-4. Step one of

the warrant required Google to provide information on all Google users within 150 meters of the

bank between 4:20 and 5:20 p.m. See ECF No. 54-1 at 4. It then required law enforcement to

“attempt to narrow down the list” based on known information “specific to this crime” before

returning that list to Google. Id. Step two required Google to produce additional data for each user

identified on the narrowed list, including any travel outside the 150-meter geofence between 3:50

and 5:50 p.m. Once again, the warrant required law enforcement to “attempt to narrow down the

list” with information that is “specific to this crime” before returning a final short list to Google.

Id. at 5. Step three required Google to provide “identifying account information” for each user on

that short list. Id. Mr. Chatrie seeks all information about how law enforcement manipulated and

analyzed the data in order to comply with the terms of the warrant and “narrow down the list”

before requesting additional information from Google in steps two and three.

       While a request for “all” information about this narrowing process might be too broad

under some circumstances, Mr. Chatrie does not believe that this request is too broad here and will

not unduly burden the government. Rather, it appears as if law enforcement attempted to obtain

the maximum amount of data possible and did not narrow down the list in step one, at least initially.

In an email to Google following Google’s step one production, the government asked for expanded




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location information on every single user Google initially identified. See ECF No. 48-1 at 1.When

Google did not respond, the government sent the same request again, asking once more for

information on every user identified in step one. See ECF No. 48-2 at 1. Although law enforcement

stated in both emails that “device numbers 1-9 may fit the more likely profile of the parties

involved,” investigators did not provide Google with a narrowed-down list until their third try,

when they requested additional data on only those nine devices. See ECF No. 48-3 at 1. The

information requested relates to potential impeachment by the law enforcement officials who

testify about the government’s attempts to “narrow down the list.”

       Mr. Chatrie submits that law enforcement attempted to obtain the maximum amount of

data possible despite having already determined that half of the accounts they planned to search

further did not fit the profile of parties involved in the crime. Information about how and when

law enforcement determined which accounts to investigate further and which to abandon will

demonstrate that Google, not a judicial officer, was responsible for determining whether law

enforcement had complied with the terms of the warrant. Indeed, law enforcement recognizes that

its initial requests for additional data on all users may “seem[] unreasonable,” see ECF No. 48-1

at 1; ECF No. 48-2 at 1, leaving it up to Google to determine what data it ought to produce. Google,

however, must not be the arbiter of what is “reasonable” under the Fourth Amendment. Rather,

such negotiations between law enforcement and the recipient of a warrant are indicative of a

profound lack of particularity and a delegation of the judicial function. Mr. Chatrie therefore

believes that information about how law enforcement determined which accounts to search further

will directly support his arguments that geofence warrants like this one are constitutionally

impermissible.




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   5. Responsive Data Not Provided to Law Enforcement

       Request 9 asks for information about the paths not taken, i.e., “Sensorvault data that Google

initially determined to be potentially responsive . . . but [did not provide] to law enforcement

officials.” ECF No. 28 at 4. It is at least possible that Google identified additional users within the

geofence but then excluded them from the data it produced to law enforcement in step one. Indeed,

such a scenario is likely if Google initially searched all data in the Sensorvault, including Google

Location Services or Web & App Activity categories, and then later filtered the results to show

Location History results only. If so, then Google would have records showing that other

individuals were in the vicinity of the bank at the time of the robbery. Such records would be

quintessential Brady evidence and highly probative of the unprecedented breadth and lack of

particularity inherent in this geofence warrant. At the very least, these records would demonstrate

that the pool of users subject to search by Google was larger than Google has acknowledged,

supporting Mr. Chatrie’s overbreadth and particularity arguments. Without such basic information

about the scope of Google’s initial search, it is difficult to place confidence in the result of any

suppression hearing, making this data material.

   6. Law Enforcement Procedures for Geofence Warrants

       Finally, requests 11(c) and (e) concern law enforcement’s procedures for obtaining Google

location data from the Sensorvault. Request 11(c) seeks training materials on the subject and

request 11(e) seeks the corresponding policies and procedures. See ECF No. 28 at 4-5. These

documents are material for Brady purposes because they constitute potential impeachment

evidence pursuant to Kyles, 514 U.S. at 433 (equating exculpatory and impeachment evidence for

Brady purposes); see also Bagley, 473 U.S. at 682. In the suppression context, impeachment




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evidence relates to the government’s lack of good faith in obtaining and executing the geofence

warrant at issue here.

       The defense strongly suspects that the warrant in this case was produced using a template

provided by a private company, namely “CellHawk.” 6 A CellHawk geofence warrant template is

available to law enforcement officials who attend CellHawk trainings, as well as select outsiders,

such as Mr. McInvaille. Mr. McInvaille obtained the template from CellHawk’s website, a copy

of which is attached as Exhibit A. 7 The template is strikingly similar to the warrant in this case—

indeed, it is mostly verbatim. Compare ECF No. 54-1 at 1-2 with Ex. A at 1-2. If the defense is

correct, then law enforcement’s reliance on CellHawk’s template would be highly probative for

purposes of determining good faith under United States v. Leon and its progeny. See 468 U.S. 897,

918-19 (1984). Leon cannot excuse systemic negligence directed by government-sponsored

trainings and search warrant templates that a private industry created.

       Mr. Chatrie therefore seeks access to all training materials, policies, and procedures that

address Google geofence warrants, especially if those documents originate from private companies

such as CellHawk. On the other hand, if the government has no geofence policies and procedures

of its own, then it should disclose that fact as well. In either case, such disclosure would strengthen

Mr. Chatrie’s argument that the government did not act in good faith when seeking the geofence

warrant in this case. Consequently, such information is discoverable under Brady and Giglio v.

United States, 405 U.S. 150 (1972), because it is likely to show that the government did not make

an honest mistake. Instead, the government appears to have outsourced its operating procedures,



6
  See, e.g., Hawk Analytics, http://www.hawkanalytics.com (last visited Feb. 18, 2020); Features
of CellHawk, Hawk Analytics, http://www.hawkanalytics.com/features-of-cellhawk (last visited
Feb. 18, 2020).
7
  This document is not available to the general public, but Mr. McInvaille was able to access it
through his CellHawk account.


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relying on training materials and templates offered by a private company that also happens to sell

the analytic software used to interpret geofence data. 8 In this light, Mr. Chatrie ought to have

access to all of the training materials and procedures provided to and utilized by law enforcement,

as this information is likely to impeach the government’s argument that it acted in good faith.

    C. Google Is Part of the Prosecution Team

       Mr. Chatrie has consistently argued that Google is “a part of the government’s investigative

team as it relates to the use of Google’s location data in this case.” ECF No. 49 at 2. Therefore, it

is of no consequence if the information Mr. Chatrie requests from the government lies “in the

possession, custody, and control of Google.” See ECF No. 38 at 8. “Brady’s commands do not

stop at the prosecutor’s door; the knowledge of some of those who are part of the investigative

team is imputed to prosecutors regardless of prosecutors’ actual awareness.” United States v.

Robinson, 627 F.3d 941, 951 (4th Cir. 2010); see also United States v. Harry, Cr. No. 10-1915, at

*9 (D.N.M. Oct. 10, 2014) (“United States prosecutors are ‘encouraged to err on the side of

inclusiveness when identifying the members of the prosecution team for discovery purposes.’”);

id. at *4 (quoting Department of Justice Memorandum Regarding Guidance for Prosecutors

Regarding Criminal Discovery (“Ogden memo”), authored by former Deputy Attorney General

David W. Ogden, dated January 4, 2010). Here, Google is part of the “prosecution team” for Brady

purposes. See Kyles, 514 U.S. at 437.

       As the Supreme Court clarified in Kyles, the scope of required disclosure under Brady

includes not just information known to the “individual prosecutor,” but also “others acting on the

government’s behalf in the case.” 514 U.S. at 437. The Kyles Court focused on the agency-

principal relationship (i.e. who is “acting on . . . behalf” of the government) when determining


8
  See, e.g., CellHawk Overview, Hawk Analytics, http://www.hawkanalytics.com/cellhawk-
overview (last visited Feb. 18, 2020).


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Brady’s reach. See 514 U.S. at 437-38 (emphasis added). Thus, following Kyles, courts have found

third parties to be a part of the prosecution team where they serve as the government’s agents in

particular cases. In United States v. Ackerman, then-Judge Gorsuch found that the National Center

for Missing and Exploited Children (NCMEC) was a government agent for Fourth Amendment

purposes where NCMEC reviewed an email for suspected child pornography and alerted law

enforcement, as required by statute. 831 F.3d 1292, 1301-1302 (10th Cir. 2016). The question is

“simply whether the agent acts with the principal’s consent and (in some way) to further the

principal’s purpose.” Ackerman, 831 F.3d at 1301. Similarly, in United States v. Rosenschein, the

court held that NCMEC was a part of the prosecution team for discovery purposes because it was

“involved in the investigation of the case” and “provided information to the government in aid of

the prosecution,” No. CR 16-4571 JCH, 2019 WL 2298810, at *7 (D.N.M. May 30, 2019)

(emphasis in original).

       The critical point is to make an agency determination based on the facts of the particular

case. It is not sufficient, for example, to infer an agency-principal relationship based on the

structure of government agencies. Compare United States v. Taylor, 942 F.3d 205, 224-25 (4th

Cir. 2019) (finding that officers with the Bureau of Alcohol, Tobacco, Firearms, and Explosives

were not part of the FBI prosecution team because they “were looking into an entirely separate

case.”) (emphasis added), and Horton v. United States, 983 F. Supp. 650, 655, n.10 (E.D. Va.

1997) (finding that a prison was not “part of the [United States Attorney’s] investigatory team”

where there was “no suggestion that [prison] officials participated in the federal investigation of

[the] murder.”), with McCormick v. Parker, 821 F.3d 1240, 1247–48 (10th Cir. 2016) (finding that

a nurse who conducted a sexual-assault examination of the victim was part of the prosecution team

because she “acted at the request of law enforcement in the pre-arrest investigation of a crime”);




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Bracamontes v. Superior Court of San Diego County, 2019 WL 6044552, at *6-10 (Cal. Ct. App.

Nov. 15, 2019) (finding that private companies providing DNA testing services on behalf of the

prosecutor are also considered a part of the prosecution team). Rather, the question turns on the

“level of interaction between the prosecutor and the agency or individual.” See United States v.

Meregildo, 920 F. Supp. 2d 434, 440 (S.D.N.Y. 2013); United States v. Locascio, 6 F.3d 924, 949

(2d Cir. 1993); Pina v. Henderson, 752 F.2d 47, 49 (2d Cir. 1985). Where the government “knew

of and acquiesced in the intrusive conduct” and the “party performing the search intended to assist

law enforcement,” then courts have generally found an agency-principal relationship. See

Ackerman, 831 F.3d at 1301.

       In this case, Google repeatedly “act[ed] on the government’s behalf,” see Kyles, 514 U.S.

at 437, “to further the [government’s] purpose” of finding a suspect in the bank robbery, see

Ackerman, 831 F.3d 1301. It makes no difference that Google is not actually a governmental entity.

See Ackerman, 831 F.3d at 1300; Taylor, 942 F.3d at 224-25. Google’s investigative actions are

comparable to NCMEC’s in Ackerman and Rosenchein. First, as in Ackerman, Google had a

statutory requirement to assist the government. See 831 F.3d at 1296 (finding it probative that 18

U.S.C. § 2258A and 42 U.S.C. § 5773(b) “mandate [NCMEC’s] collaboration” with law

enforcement). Here, the geofence warrant invokes section 19.2-70.3 of the Code of Virginia, which

requires service providers like Google to disclose certain business records pertaining to their

customers. ECF No. 54-1 at 3. And federally, as Google explains in its amicus brief, the Stored

Communications Act requires “service providers such as Google to disclose data relating to a

user’s stored electronic communications.” 9 ECF No. 73 at 20 (citing 18 U.S.C. § 2703). The



9
  While the Stored Communications Act is relevant to Google’s relationship with the prosecution
team, the defense maintains that neither it nor any statute can constitutionally authorize a geofence
warrant.


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contents of electronic communications must be disclosed in response to a warrant. 18 U.S.C. §

2703(a), (b)(1)(A).

       Of course, mere compliance with a warrant does not transform its recipient into a

government agent. But Google, like NCMEC, did not merely turn over existing evidence; it

functioned instead as a critical part of the investigative team. Just as NCMEC reviewed files to

determine if they contain child pornography, see Ackerman, 831 F.3d at 1301-1302; Rosenchein,

2019 WL 2298810, at *7, so too did Google review user location data to determine devices that

matched the geofence criteria. Unlike warrants seeking data from a particular user or account,

Google did not simply produce specific records; instead, Google was responsible for identifying

them Indeed, Google functioned as part of the investigative team in this case by searching all of

its users at the government’s behest and creating multiple spreadsheets of data based on the

government’s evolving requests. See ECF No. 73 at 12-13. Moreover, Google was responsible for

developing the entire three-step process prescribed in the geofence warrant. See ECF No. 73 at 12

(stating that Google “developed a multi-step . . . protocol” for responding to geofence warrants).

It was also Google that determined when the list of users had been sufficiently “narrowed” to

proceed with the second step of the warrant. See ECF No. 48-1 at 1 (deferring to Google with

respect to the reasonableness of the request); ECF No. 48-2 at 1 (same); ECF No. 48-3 at 1 (same).

Google was no mere witness. It was deeply “involved in the investigation of the case,” see

Rosenschein, 2019 WL 2298810, at *7, and hewed closely to the specifics of the government’s

requests, just as an agent would act to “further the principal’s purpose,” see Ackerman, 831 F.3d

at 1301.

       In sum, the government obtained a warrant using a tiered disclosure process that Google

itself designed, for a search that Google conducted at the behest of law enforcement officers




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working on this case. Consequently, Google’s role here was as a private actor participating in a

specific criminal investigation at the behest of the government, just like the hospital nurse in

McCormick, 821 F.3d at 1247–48, or the DNA testing company in Bracamontes, 2019 WL

6044552, at *6-10. Thus, this Court should find that Google was a part of the prosecution team in

this case. As a matter of fundamental fairness and due process, Mr. Chatrie is entitled to

information demonstrating the unconstitutionality of the investigative techniques used against him.

As a key member of the government’s investigative team, Google “has the means to discharge the

government’s Brady responsibility,” and opposition to doing so “boils down to a plea to substitute

[Google] for the prosecutor, and even for the courts themselves, as the final arbiter[] of the

government’s obligation to ensure fair trials.” See Kyles, 514 U.S. at 438.

2. Rule 16

       A. Legal Standard

       Federal Rule of Criminal Procedure 16(a)(1)(E) requires disclosure of evidence that “is

material to preparing the defense ” if “the item is within the government’s possession, custody, or

control.” Rule 16 requires much broader disclosure than the government’s disclosure obligations

under the due process demands of Brady. See United States v. Caro, 597 F.3d 608, 620 (4th Cir.

2010) (citing United States v. Baker, 453 F.3d 419, 424 (7th Cir. 2006) (recognizing that Rule 16

requires disclosure of both inculpatory and exculpatory evidence that “might assist in preparation

of a defense”)). There must be some indication that disclosure of the requested evidence will

enable the defendant to “significantly alter the quantum of proof in his favor.” Caro, 597 F.3d at

621 (internal quotation marks omitted). “’[E]vidence is material as long as there is a strong

indication that it will play an important role in uncovering admissible evidence, aiding witness

preparation, corroborating testimony, or assisting impeachment or rebuttal.’” Caro, 597 F.3d at




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621 (quoting United States v. Lloyd, 992 F.2d 348, 351 (D.C. Cir. 1993) (observing that this

materiality standard “normally is not a heavy burden”)).

       Rule 16 applies pretrial and the federal rules specifically contemplate its connection to

suppression hearings. Federal Rule of Criminal Procedure 12(b)(4) governs discovery for pretrial

hearings, including suppression hearings.       Federal Rule of Criminal Procedure 12(b)(4)(B)

provides that “[a]t the arraignment or as soon afterward as practicable, the defendant may, in order

to have an opportunity to move to suppress evidence under Rule 12(b)(3)(C), request notice of the

government’s intent to use (in its evidence-in-chief at trial) any evidence that the defendant may

be entitled to discover under Rule 16.” (emphasis added); see also 1A Charles A. Wright &

Andrew D. Leipold, Federal Practice & Procedure: Criminal § 195, at 451 (4th ed. 2008) (stating

that Rule 12(b)(4)(B) is “intended to facilitate the making of a pretrial motion for the suppression

of evidence”). One of the primary purposes of Rule 16’s pretrial disclosure obligation is to protect

a defendant’s constitutional right to a fair trial, in part by allowing the defendant to challenge the

constitutionality of admitting specific pieces of evidence. See United States v. McElroy, 697 F.2d

459, 464 (2d Cir. 1982) (“Pretrial discovery prevents the defendant from being unfairly surprised

with his statements at trial and enhances the ability of defense counsel to suppress inadmissible

statements.”). That application is directly on point here.

       B. Materiality

       All of the information discoverable under Brady and its progeny is also discoverable under

Rule 16. For the reasons described above, requests 1, 3, 4(a), 4(b), 4(e), 8, 9, 11(c), and 11(e) are

likely to significantly alter the quantum of proof in Mr. Chatrie’s favor. All of this information is

material because it will help the defense uncover admissible evidence, prepare expert witnesses,

corroborate testimony, and assist impeachment or rebuttal. See Caro, 597 F.3d at 621. Moreover,




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courts have repeatedly held that “[a] party seeking to impeach the reliability of computer evidence

should have sufficient opportunity to ascertain by pretrial discovery whether both the machine and

those who supply it with data input and information have performed their tasks accurately.” United

States v. Budziak, 697 F.3d 1105, 1112 (9th Cir. 2012) (quoting United States v. Leibert, 519 F.2d

542, 547–48 (3rd Cir. 1975)); see also Supplemental Order Regarding C-3 Motion to Compel

Discovery and Production of Evidence: Torrential Downpour Software at 4, United States v.

Schwier, No. 3:17-cr-0095, (D. AK, Nov. 18, 2019) (Ex. B) (finding the functionality, reliability,

and accuracy of third-party software were material to the defense); United States v. Gonzales, No.

CR1701311001PHXDGC, 2019 WL 669813, at *5 (D. Ariz. Feb. 19, 2019) (granting access to

third-party software where the defense presented evidence that called into question the

government’s version of events, and finding that “the functions of the [program] constitute[] a

‘very important issue’ for [Gonzales’s] defense.”)).

       Additionally, the remainder of Mr. Chatrie’s discovery requests—4(c), 4(d), 5, 10, 11(d),

and 12—are material under Rule 16 for the reasons below.

   1. Sensorvault Parameters

       Request 4(c) seeks records of who has access to the Sensorvault. This information is

material under Rule 16 because it will aid the defense in identifying witnesses with knowledge of

the Sensorvault and its operations. There are significant unanswered questions about the types of

location information Google stores in Sensorvault and the types of data subject to search pursuant

to a geofence warrant. Identifying the individuals with access to Sensorvault will therefore assist

the defense in identifying potential witnesses who can answer these questions and corroborate (or

challenge) Google’s assertion that it searched only users with Location History enabled. See ECF

No. 59-1 at 12.




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       Request 4(d) seeks records regarding how Google maintains the Sensorvault. This

information is material under Rule 16 because it will aid the defense in understanding what data

goes into the Sensorvault, how it is stored, and when, if ever, Google deletes it. Like request 4(b),

this information will elucidate the historical reach of geofence warrants as well as the degree of

voluntariness associated with Google’s collection and storage of Mr. Chatrie’s data. And like

request 4(c), it will help Mr. Chatrie identify witnesses with knowledge of the Sensorvault and its

operations. All of the information requested in 4(c) and 4(d) is therefore material and discoverable

under Rule 16.

   2. Names, Training, Certification, and Qualifications

       Requests 5 and 10 ask for the names and qualifications of individuals who were involved

in the geofence search process. Request 5 pertains to Google employees, whereas request 10

pertains to law enforcement. Mr. Chatrie seeks to learn the names of these individuals as well as

their relevant training, certifications, and qualifications. This information is material under Rule

16 because it will aid Mr. Chatrie in identifying witnesses who can corroborate or discredit critical

claims, such as Google’s assertion that it searched only users with Location History enabled. See

ECF No. 59-1 at 12. Additionally, the information constitutes potential impeachment evidence

pursuant to Kyles v. Whitley with respect to any law enforcement or Google witnesses testifying

about the geofence search process. Finally, it will assist the defense in preparing its own expert to

testify at the geofence suppression hearing.

   3. Contracts, Memoranda, & Agreements

       Request 11(d) asks for contracts, memoranda of understanding, and agreements between

Google and law enforcement relevant to the use of Sensorvault data for the geofence search in this

case. See ECF No. 28 at 4. The defense does not seek all agreements between law enforcement




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and Google, but only those concerning geofence searches in effect at the time of the search in this

case. This information is material because it would go to show the close relationship between

Google and law enforcement, similar to other third-party sources that courts have determined to

be part of the prosecution team. See, e.g., United States v. Rosenschein, No. CR 16-4571 JCH,

2019 WL 2298810, at *9-10 (D.N.M. May 30, 2019) (finding that memoranda and agreements

with Microsoft are material and discoverable where they show the nature of agency relationship);

see also Ackerman, 831 F.3d at 1301 (“An agency relationship is usually said to ‘result[ ] from the

manifestation of consent by one person to another that the other shall act on his behalf and subject

to his control, and consent by the other so to act.’”) (quoting Restatement (Second) of Agency §

1 (1958)). Furthermore, the government denies that Google functioned as a part of the prosecution

team, ECF No. 64 at 5-6. Mr. Chatrie therefore deserves to access contracts and agreements that

would contradict the government’s denial. For all of these reasons, request 11(d) is material under

Rule 16.

   4. Other Documents

       Request 12 seeks all records produced as a result of the geofence warrant in this case,

including notes or memoranda of conversations regarding the search or actions taken as part of the

search process, as well as any written justification for such actions. This information is material

under Rule 16 because it will help the defense in uncovering admissible evidence. For example,

the government asserts that it acted in “good faith” because it “followed the approach endorsed by

McLamb,” i.e., “consulted with prosecutors—both state and federal—about GeoFence warrants.”

ECF No. 41 at 22. As a result, the government is likely to have documents regarding this

consultation that bear on the question of good faith. These documents would likely speak to the

constitutionality of the warrant’s breadth and lack of particularity. They may also show law




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enforcement’s rationale for seeking expanded location data on all 19 users in step two of the search.

In any event, such documents constitute potential impeachment evidence pursuant to Kyles v.

Whitley with respect to any law enforcement or Google witnesses testifying about the geofence

search process. They will also assist the defense in preparing its own expert to testify at the

geofence suppression hearing.

       C. Google Is a Part of the Prosecution Team

       Google is a part of the “government” under Rule 16 for the same reasons it is a part of the

“prosecution team” under Brady—it “act[ed] on the government’s behalf in the case.” See Kyles,

514 U.S. at 437. Mr. Chatrie may therefore request items that are “within [Google’s] possession,

custody, or control” through Rule 16. See Fed. R. Crim. P. 16(a)(1)(E). The government’s

“disclosure obligation under Rule 16,” just as under Brady, “turns on ‘the extent to which the

prosecutor has knowledge of and access to the documents sought.’” See Horton, 983 F. Supp. at

654 (citing United States v. Bryan, 868 F.2d 1032, 1036 (9th Cir. 1989)).The other courts that have

defined “government” in Rule 16 have also generally equated it with the “prosecution team.” See

Rosenschein, 2019 WL 2298810, at *4 (collecting cases); United States v. Brodnik, 710 F. Supp.

2d 526, 544 (S.D.W. Va. 2010) (collecting cases); Weems v. United States, 191 A.3d 296, 300

(holding that the government’s disclosure obligations under Rule 16 apply to “the entire

‘prosecution team.’”). As argued above, Google’s investigative actions pursuant to the general

warrant in this case made it part of the “prosecution team.” In turn, Google is part of the

“government” under Rule 16 and is subject to Mr. Chatrie’s discovery requests.

                                         CONCLUSION

       For the foregoing reasons, Mr. Chatrie respectfully submits that he is entitled to discovery

on all of the outstanding requests in ECF No. 28. Each requested item is material to the defense




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and discoverable under Brady, Rule 16, or both, regardless of whether it is in the possession of

Google, which functioned as an agent of the prosecution team in this case.


                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify that on February 18, 2020, I filed the foregoing with the Clerk of Court
using the CM/ECF system, which will send a notification of such filing (NEF) to all counsel of
record.

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